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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
                           Case No.: 21-CR-026 (CRC)
UNITED STATES OF AMERICA,
Plaintiff,
v.                                           Case No. 21-cr-026 (CRC)
CHRISTOPHER MICHAEL ALBERTS
Defendant.
__________________________/
        DEFENDANT ALBERT’S MOTION TO SUPPRESS EVIDENCE
             Request for Evidentiary and Demonstrative Hearing
COMES NOW, Defendant, CHRISTOPHER               MICHAEL        ALBERTS,

(hereinafter, “Defendant” or “Alberts”), by and through undersigned counsel, with

this Motion to suppress evidence seized unlawfully and unconstitutionally, in

violation of the Fourth Amendment, on the evening of January 6, 2021.

      A black 9mm Taurus G2c semiautomatic handgun and ammunition were

allegedly seized after a search of Alberts’ person without probable cause or

reasonable suspicion—just prior to the announcement of a curfew on Jan. 6. In

addition, the search was conducted with excessive force (including potentially

deadly force): a savage, brutal, unannounced, unprovoked baton blow to the back

of Alberts’ head.
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                                  BACKGROUND

        On January 6, 2021, defendant Christopher Alberts participated in protest

activities outside the U.S. Capitol in support of a fair congressional investigation

into 2020 election improprieties. As the sun went down, various law enforcement

agencies began threatening, pushing and manhandling protestors in alleged

advance of a “curfew” announcement at the Capitol. (Although in the aftermath

there have been some statements by officers stating a “curfew” was already in

place at the time of their search of Alberts, videos show the encounter occurred in

a ‘pre-curfew’ setting when officers were herding protestors away and threatening

a curfew.)

   I.      Grand Jury testimony says falsely that the curfew warning had been
           called. But video of the incident shows otherwise.
   At the foundation of the government’s basis for searching Alberts is the notion

that officers were enforcing a curfew and Alberts was inside the purported curfew

zone. Officer testimony at grand jury hearings contains these false assertions.

Videos recorded at the time indicate Metropolitan Police Officers were getting

aggressive with protestors and pushing protestors outward away from the Capitol

using an advancing skirmish-line formation.

        The legality and constitutionality of ad hoc “curfew” declarations by law

enforcement officers on the ground can be debated. But no curfew had been
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declared at the time of officers’ attack and search of Alberts. Indeed, D.C.

Metropolitan Police Supervisor Edwards can clearly be heard after Alberts’ arrest

stating “we haven’t given the warning yet.” This fact is significant because

Alberts was not suspected of violating the law at the time of the search. Alberts

was moving outward away from the Capitol along with hundreds of others. “The

grounds for a stop must exist at the time of the seizure.” United States v. Simmons,

560 F.3d 98, 107 (2d Cir. 2009); see also California v. Hodari D., 499 U.S. 621,

625-26 (1991).

         Demonstrators’ Fourth Amendment rights are violated where police conduct

mass arrests based on acts of vandalism by a few unidentified demonstrators but

fail to first issue an order to disperse and then provide reasonable period of time to

comply. Carr v. District of Columbia, 561 F. Supp. 2d 7 (D.D.C. 2008). Failure to

observe notice and opportunity requirements results in lack of probable cause. Id.

   II.      Inconsistencies in Officers’ Statements Regarding the Search Justify
            Presumption that the Search was Unlawful.
         Significantly, the arresting officer changed his story about the search of

Alberts between the time of the arrest and the grand jury testimony. The original

Statement of Facts (ECF #1-1), written and filed soon after the search, says:

          At approximately 1925 hours (7:25p.m.), I was assisting escorting
          individuals past an MPD line when I noticed a man, later identified
          by his Maryland driver’s license as CHRISTOPHER ALBERTS, to
          be slow in responding to orders to leave the premises. As I
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        approached ALBERTS from his rear, I noticed a bulge on
        ALBERTS’ right hip. Based on my training and experience, I
        recognized the bulge was consistent with that of a hand gun. While
        pushing ALBERTS towards the line, I tapped the bulge with my
        baton and felt a hard object that I immediately recognized to be a
        firearm.
Government’s Statement of Facts, (ECF 1) pp. 1-2 (written by Officer Dallan

Haynes, MPD).

      Thus, plainly, the arresting (and searching) officer originally based his

search on “noticing” a “bulge” on Alberts’ right hip. These were the very words

written and signed by Officer Haynes.

      As a preliminary matter, “bulges” on hips of Jan. 6 participants seem to have

been ubiquitous. Any photo or video of crowds on that date shows that many or

most Jan. 6 attendees had “bulges” in their jackets or on their hips, with wallets,

extra clothing, gloves, camera or phone equipment, or other objects or provisions.

A “bulge”—even one that an officer claims was “consistent with that of a hand

gun”—cannot constitute grounds for a pat-down where so many people fit this

description for it to justify a reasonable suspicion of criminal activity. See United

States v. Crawford, 891 F.2d 680, 682 (8th Cir. 1989) (overturning conviction

where search was based on appearance and “conduct typical of countless innocent

people”).
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      Obviously, soon after writing his report on Jan. 7, 2021, Officer Haynes

recognized that his search and seizure of Alberts on Jan. 6 was illegal. And

therefore, Officer Haynes changed his story between Jan. 7 and Jan. 11.

   III.    Seeing “a bulge” on a hip or jacket pocket—without more—does not
           constitute probable cause or reasonable grounds for a search of the
           person.
   There are dozens or perhaps hundreds of published cases invalidating searches

and seizures based on officers seeing “bulges” in people’s pockets, jackets, shirts,

or hips . See, e.g., United States v. Mabry, 997 F.3d 1239, 1245 (D.C.Cir. 2021)

(reversing conviction and suppressing evidence where “the officer noticed one of

the coats had a “bulge coming from one of [its] pockets” and then persistently

questioned defendant until defendant submitted); United States v. Jones, 254 F.3d

692, 697-98 (8th Cir. 2001) (holding that where defendant's conduct—walking

around a phone bank, looking behind him, and traveling without luggage from Los

Angeles—were not sufficiently suggestive of crime to amount to reasonable

suspicion, the officer's touching a bulge on a defendant's person during a

consensual search did not provide probable cause for an arrest where the defendant

had explained that the bulge was from recent surgery); United States v. Eustaquio,

198 F.3d 1068, 1070 (8th Cir.1999) (holding that touching a bulge in the

defendant's clothing without consent, and in the absence of reasonable suspicion,

violated the defendant's Fourth Amendment rights); United States v. Tovar-
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Valdivia, 193 F.3d 1025, 1026-27 (8th Cir. 1999) (overturning conviction where

arresting officer’s Terry stop to determine whether “bulges” on the side of

defendant's torso were weapons, did not provide a reasonable belief that defendant

had committed or was committing an offense); United States v. Hiruko, 4320 F.

Supp. 2d 26 (E.D.N.Y. 2004) (invalidating search based on “bulge” in a

defendant’s pockets where officer gave inconsistent statements).

   IV.    Although there are cases upholding pat downs and searches based on
          “bulges” in clothing, these cases uniformly hold that a “bulge” in
          clothing is merely one factor. In the search of Alberts, there were no
          other factors.
   To be sure, a bulge observed during the course of an encounter between a police

officer and a suspect may, in some circumstances, justify a Terry frisk for

weapons. Pennsylvania v. Mimms, 434 U.S. 106, 112 (1977). But cases upholding

pat down searches based partially on “bulges” in clothing do so only where a bulge

is seen in combination with other factors. See, e.g., United States v. Roggeman,

279 F.3d 573, 577, 579 (8th Cir. 2002) (noting that a bulge is a substantial factor in

justifying a protective search). But in Alberts’ case, the officer’s claims of seeing

a bulge on Albert’s hip (later changed to a story of seeing “bullets” on Albert’s

hip) was the sole basis for the officer tapping his baton against Alberts and then

brutally meating Alberts to the ground.
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   There are cases upholding searches and seizures where officers noticed bulges

in people’s clothing and then obtained consent to search or pat down those people.

United States v. Mendoza-Cepeda, 250 F.3d 626, 629 (8th Cir. 2001) (holding that

a pat down of a defendant's torso was valid because the defendant knowingly and

voluntarily consented); United States v. Favela, 247 F.3d 838, 840 (8th Cir. 2001)

(finding probable cause to arrest when, as part of a consensual encounter, the

defendant offered no explanation for a suspicious bulge under a loose fitting shirt).

   But Alberts’ case is not such a case. Alberts did not consent to a search or pat

down. Officers simply beat Alberts to the ground by means of unannounced,

unprovoked blow with a weapon to the back of Alberts’ head. Nor did officers

question Alberts about any bulge in Alberts’ clothing or on his hip. They simply

tapped his clothing with a stick and then beat Alberts to the ground, where they

then performed an unlawful search of Alberts.

   V. The arresting officer changed his story on Jan. 11, 2021 when he
testified before the grand jury that he saw “bullets” on Alberts.
      In any case, the searching officer fundamentally changed his story—from

seeing a “bulge,” to seeing “bullets”—at the Jan. 11 grand jury hearing.

      After arresting Alberts and writing and signing a statement of facts saying

that he “noticed a bulge on ALBERTS’ right hip,” (ECF #1-1, pp. 1-2), Officer
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Haynes altered his story. When Officer Haynes testified before the grand jury on

Jan. 11, 2021, Haynes testified that he saw “bullets” on Alberts’ right hip.

      Q. Did he have a gas mask attached to his backpack?
       A. He did.
       Q. What led you to believe that the defendant was
      carrying a firearm?
       A. As we began to push the people out, I sighted
      bullets on his right hip.
       Q. And what did you do after you noticed the bullets
      on his right hip?
       A. I moved in behind him and went to nudge him with
      my -- what we call baton, our big stick, and I nudged him
      and, while nudging him, I tapped that bulge with the end of
      my baton.
       Q. And what did you notice when you tapped it?
       A. I felt resistance and heard a (thumping sound),
      you know, a tap noise.
       Q. And based on your training and experience as a law
      enforcement officer, was that consistent with what you
      expected to be a firearm?
       A. Yes.
Grand Jury transcript of Haynes, page 8 (Jan. 11, 2021).

   Of course the obvious purpose of Haynes’ change of testimony was to try to

trick this Court into upholding this unlawful search and seizure. The seizure of an

item whose identity is already known (such as “bullets”) occasions no further

invasion of privacy. See Soldal v. Cook County, 506 U.S. 56, 66 (1992); United

States v. Jacobsen, 466 U.S. 109, 120 (1984).

   VI.    The search and seizure of Alberts was conducted with excessive force
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      Claims that law enforcement officials have used excessive force during an

arrest, investigatory stop, or other seizure of a person are properly analyzed under

the Fourth Amendment's “objective reasonableness” standard. Graham v. Connor,

490 U.S. 386, 388 (1989). The Fourth Amendment's safeguard from “unreasonable

searches and seizures” is supplemented by the judicially-created exclusionary rule,

which is meant to act as a “deterrent sanction that bars the prosecution from

introducing evidence by way of a Fourth Amendment violation.” Davis v. United

States, 564 U.S. 229, 231-32 (2011).

      This is not to say that the Fourth Amendment speaks not at all to the
      manner of executing a search warrant. The general touchstone of
      reasonableness which governs Fourth Amendment analysis, see
      Pennsylvania v. Mimms, 434 U.S. 106, 108-109 (1977)(per curiam),
      governs the method of execution of the warrant. Excessive or
      unnecessary destruction of property in the course of a search may
      violate the Fourth Amendment, even though the entry itself is lawful
      and the fruits of the search not subject to suppression.
United States v. Ramirez, 523 U.S. 65, 71 (1998).

      If Officer Haynes suspected a bulge on Alberts’ person might conceal a

weapon, Officer Haynes could have stopped and questioned Alberts. If Alberts

provided suspicious answers, Officer could have patted Alberts down or followed

up with further investigative techniques. But Officer Haynes attacked Alberts

from behind, violently striking Alberts on the head with a baton.
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      Such excessive force constitutes further unreasonableness, in violation of the

Fourth Amendment. See United States v. Edwards, 666 F.3d 877, 887 (4th Cir.

2011) (vacating a district court's refusal to suppress evidence obtained through an

unreasonable strip search of the defendant); Correa v. Simone, 528 Fed. App'x 531,

535 (6th Cir. 2013) (“[A] plaintiffs' right to be free from a taser shock is clearly

established where they have done nothing to resist arrest or are already detained.”)

                 EXCLUSION IS THE APPROPRIATE REMEDY
      Courts suppress evidence seized in violation of Terry and its progeny, even

in potentially hazardous encounters such as roadside and on-the-street

confrontations. See, e.g., United States v. Cole, 628 F.2d 897, 899 (5th Cir. 1980),

cert. denied, 450 U.S. 1043 (1981) (suppressing the discovery of a pistol following

patdown search because there was no proof that the suspect might be armed and

dangerous); United States v. McQuagge, 787 F. Supp. 637, 653 (E.D. Tex. 1991)

(suppressing physical evidence, including firearms, where “there is no evidence in

the record . . . that the law enforcement officers who made the arrest reasonably

believed the defendants were dangerous when they were stopped”); Harris v. State,

827 S.W.2d 49 (Tex. App.--Houston [1st Dist.] 1992) (suppressing crack cocaine

because the frisking officer relied upon unparticularized hunches, not an articulated

and individualized suspicion that the suspect was armed).
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      In Alberts’ case, the bedrock principles behind the exclusionary rule plainly

apply. Exclusion is a deterrent which keeps other law enforcement officers from

conducting themselves similarly.

      The United States Supreme Court has upheld the suppression of contraband

discovered similarly during an unjustified patdown search in Ybarra v. Illinois,

444 U.S. 85 (1979). In Ybarra, officers had a warrant to search a bar and its

bartender for heroin. The officers also conducted a patdown search of Ybarra, a bar

patron, despite the fact that Ybarra had made no gestures suggesting criminal

conduct, no attempts to conceal contraband, and no suspicious statements. The

Court held that the patdown of Ybarra was invalid because “a person's mere

propinquity to others independently suspected of criminal activity does not,

without more, give rise to probable cause to search that person.” 444 U.S. at 91

(citing Sibron v. State of New York, 392 U.S. 40, 62-63 (1968)).

      Judge Bazelon made the same observations in 1977:

       The present case concerns police misconduct in the handling of
       mass demonstrations; here, there is likely to be a chilling effect on
       individuals' protest activities unless the police are restrained from
       similar misconduct in the future. Illegal arrests and excessive force
       may deter peaceful and law-abiding citizens from exercising their
       first amendment rights, especially if they cannot be confident that
       they will be given a chance to disperse before mass arrests and
       police beatings take place. For those who are not deterred and are
       unlawfully arrested, the opportunity for speech will have been lost,
       sometimes irretrievably, even though prosecutions are later
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       dismissed, arrest records are expunged and individual damage
       actions are successful. It is these evils that have led the Supreme
       Court consistently to condemn prior restraints in other forms and
       contexts. See New York Times Co. v. United States, 403 U.S. 713
       (1971).
Washington Mobilization Committee v. Cullinane, 566 F.2d 107, 127-28 (D.C. Cir.
1977) (Bazelon, C.J.).
                                 CONCLUSION
      Defendant Alberts was lawfully leaving the relatively chaotic atmosphere of

the Capitol grounds on Jan. 6, 2021, when he was brutally bludgeoned on the head

by Officer Haynes. At no time did Haynes or any other officer question Alberts or

articulate any suspicion that Alberts was carrying a gun or other contraband. After

Alberts was stunned on the ground, officers frisked him, claiming they found a

semiautomatic handgun and ammunition.

      For the reasons stated above, Alberts asks for suppression of the gun and

ammunition, on Fourth Amendment grounds.

REQUEST FOR EVIDENTIARY HEARING, WITH COURTROOM
DEMONSTRATION OF ALBERTS’ CLOTHING, JACKET(S) AND THE
SEIZED ITEMS
      WHEREFORE, Defendant prays for an order scheduling a suppression

hearing in which the arresting officer will be examined and where the alleged gun,

holster, ammunition and other gear will be brought to the Court. Defendant

anticipates demonstrating that Alberts’ jacket and clothing, worn by Alberts on
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Jan. 6, could not have shown or exposed any “bulge” which might be readily

perceived as a handgun.

      And, for all the reasons described above, this Court should SUPPRESS and

EXCLUDE from evidence all fruits of the unlawful search, as well as all testimony

regarding the search and seizure.

Dated: November 10, 2022
                                       Respectfully submitted,
                                        /s/ John M. Pierce
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CERTIFICATE OF SERVICE
I hereby certify that, on November 10, 2022, this motion and the accompany
declaration was filed via the Court’s electronic filing system, which constitutes
service upon all counsel of record.

/s/ John M. Pierce
John M. Pierce
